             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                     Civil Case No. 1:09cv441
                   [Criminal Case No. 1:09cr13]


SULEMA VILLAGRANA LOPEZ,                 )
                                         )
           Petitioner,                   )
                                         )
           vs.                           )     MEMORANDUM
                                         )      AND ORDER
UNITED STATES OF AMERICA,                )
                                         )
         Respondent.                     )
______________________________           )

     THIS MATTER is before the Court on the Petitioner’s Motion under

28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1].

                         PROCEDURAL HISTORY

     On February 17, 2009, the Petitioner and fourteen other individuals

were charged with conspiracy to possess with intent to distribute 50 or more

grams of cocaine base, in violation of 21 U.S.C. §§ 841(a)(1) and 846 and

with using a communication facility to commit or facilitate the commission of

the conspiracy, in violation of 21 U.S.C. § 843(b).         United States v.

Villagreana Lopez, Criminal Case No. 1:09cr13 [Doc. 12]. On March 12,

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2009, the Petitioner entered into a Plea Agreement with the Government

pursuant to which she agreed to plead guilty to Count One in exchange for the

dismissal of Count Two at sentencing. [Doc. 140, at 1]. The Plea Agreement

contained an express waiver of her right to file a direct appeal except as to

claims of ineffective assistance of counsel and prosecutorial misconduct. [Id.,

at 5].

         On March 18, 2009, the Petitioner appeared before Magistrate Judge

Dennis L. Howell and pled guilty to conspiracy to possess with intent to

distribute cocaine base. Judge Howell engaged the Petitioner in a lengthy

colloquy to ensure that she understood the nature and consequences of the

proceedings and her actions. [Doc. 142]. On August 24, 2009, Hon. Lacy H.

Thornburg sentenced the Petitioner to 78 months of imprisonment. [Doc.

345]. The Petitioner did not file a direct appeal from her conviction and

sentence.

         On September 1, 2009, this case was reassigned to the undersigned

when Judge Thornburg retired. On December 9, 2009, the Petitioner filed this

motion in which she claims, among other things, that her trial attorney was

ineffective for having failed to file an appeal as the Petitioner requested.




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                                DISCUSSION

      Where a defendant unequivocally instructs an attorney to file a timely

notice of appeal, the attorney’s failure to file the appeal is per se ineffective

assistance of counsel regardless of the merits of the appeal. United States

v. Poindexter, 492 F.3d 263 (4th Cir. 2007); United States v. Peak, 992 F.2d

39, 42 (4th Cir. 1993). Counsel’s performance is ineffective under these

circumstances even when the proposed appellate claim involves a matter

which is covered by a waiver provision in the plea agreement. Poindexter,

492 F.3d at 273. In this case, the Petitioner did sign an appeal waiver and

thus, she may “obtain little more than an opportunity to lose at a later date.”

Id. Nonetheless, the Fourth Circuit has clearly held that the right to have the

appeal filed must be upheld in such circumstances. Id.

      The Petitioner has alleged that her counsel was ineffective when

“counsel did not even appeal when I ask him too . . . . ” [Doc. 1, at 6.] Thus,

even if the Government were to file a response containing an affidavit in which

the Petitioner’s former attorney denied this allegation, the Court would still be

compelled to give the Petitioner the benefit of the doubt. United States v.

Santana, 263 Fed.Appx. 334, 335 (4th Cir. 2008) (noting that credibility

determinations should not be made on conflicting affidavits). The Court


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therefore finds that the Petitioner’s Motion to Vacate should be granted only

as to her claim that counsel was ineffective for failing to file a notice of appeal

on her behalf. The Court will vacate its original judgment and enter a new

judgment from which an appeal can be taken.

      The Petitioner’s remaining claims are dismissed without prejudice.

      Because [the Petitioner] has never had a direct appeal, ... taking
      further action on [her] motion beyond granting [the] Peak claim
      [would be] inappropriate. The [Court will dismiss] the remaining
      claims without prejudice to [her] right to file another habeas
      motion, if necessary, after a direct appeal. Moreover, as a
      criminal defendant has a right to counsel throughout the direct
      appeal, the [Court will] appoint counsel for [her].

United States v. Killian, 22 Fed.Appx. 300, 301 (4th Cir. 2001).



                        NOTICE OF APPEAL RIGHTS

      The Petitioner is hereby advised that she has an absolute right to

appeal her criminal case and any issues in it to the United States Fourth

Circuit Court of Appeals. Should the Petitioner choose to appeal, she must

file a Notice of Appeal with the Clerk of Court for the United States District

Court for the Western District of North Carolina within fourteen (14) calendar

days after the date the Amended Judgment of Conviction is filed or within

fourteen (14) calendar days after any government appeal is filed, whichever


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is later.

                                      ORDER

       IT IS, THEREFORE, ORDERED as follows:

1.     The Petitioner’s Motion under 28 U.S.C. § 2255 to Vacate, Set Aside,

       or Correct Sentence by a Person in Federal Custody [Doc. 1] is hereby

       GRANTED in part as to the claim that her trial counsel provided

       ineffective assistance of counsel by failing to file a notice of appeal and

       is hereby DENIED without prejudice as to all other claims.

2.     The Judgment in a Criminal Case [Doc. 345] is hereby VACATED and

       the Clerk of Court is instructed to prepare an Amended Judgment in a

       Criminal Case with the same sentence and conditions as indicated on

       the original Judgment in a Criminal Case [Doc. 345].

3.     The Petitioner shall remain in the custody of the United States Attorney

       General and the Bureau of Prisons.

4.     The Petitioner may appeal the Amended Judgment in a Criminal Case

       as explained in this Order.

5.     In the event that the Petitioner files a Notice of Appeal, the Clerk of

       Court shall appoint counsel to represent her on appeal, the Petitioner

       having previously received court-appointed counsel.


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                                Signed: February 12, 2010




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